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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 SHIRA PERLMUTTER,

      Plaintiff,
                                                    Case No. 25-cv-1659
 v.

 TODD BLANCHE et al.,

      Defendants.



 [PROPOSED] ORDER GRANTING PLAINTIFF SHIRA PERLMUTTER’S MOTION
               FOR A TEMPORARY RESTRAINING ORDER

       This matter came before the Court on Plaintiff’s Motion for a Temporary Restraining

Order. After consideration of that Motion and all related filings, it is hereby ORDERED that

Plaintiff’s Motion is GRANTED for substantially the same reasons raised in Plaintiff’s

memorandum in support of her Motion. The Court therefore ORDERS:

       1.     That Defendant Todd Blanche is enjoined from exercising the powers of acting
              Librarian of Congress, all Defendants are enjoined from purporting to appoint any
              other individual to be acting Librarian of Congress, and Defendant Paul Perkins is
              enjoined from exercising the powers of acting Register of Copyrights;

       2.     That any actions taken or contemplated to be taken by Mr. Blanche or any other
              improperly appointed person as an officer of the Library of Congress are void ab
              initio and without effect;

       3.     That Plaintiff Shira Perlmutter may not be removed from her office as Register of
              Copyrights and Director of the Copyright Office, or in any way be treated as
              having been removed, denied, or obstructed in accessing any of the benefits or
              resources of her office, or otherwise be obstructed from her ability to carry out her
              duties, absent a decision by a lawfully appointed Librarian of Congress to remove
              her from that office;

       4.     That the Federal Vacancies Reform Act does not authorize the appointment of a
              temporary acting Librarian of Congress; and



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      5.    That Plaintiff Shira Perlmutter remains the Register of Copyrights and Director of
            the Copyright Office, Mr. Blanche has not lawfully been appointed as the acting
            Librarian of Congress, and Robert R. Newlen remains the acting Librarian of
            Congress.



SO ORDERED.



Dated: _______________________                   ________________________________
                                                 UNITED STATES DISTRICT JUDGE




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